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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNION ASSET MANAGEMENT                   Case No. 3:20-cv-00518-X
HOLDING AG, Individually and On Behalf
All others similarly situated,           CLASS ACTION

                  Plaintiff,

            v.

FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                  Defendants.



         APPENDIX OF EXHIBITS IN SUPPORT OF THE MOTION OF
     UNION ASSET MANAGEMENT HOLDING AG FOR APPOINTMENT AS
     LEAD PLAINTIFF AND APPROVAL OF ITS SELECTION OF COUNSEL
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     Exhibit                      Description                          Appendix Pages

        A           Declaration of Lewis T. LeClair in                App-01 – App-03
                    Support of the Motion of Union Asset
                    Management       Holding      AG      for
                    Appointment as Lead Plaintiff and
                    Approval of Its Selection of Counsel.

        B           Union Asset Management Holding AG’s               App-04 – App-10
                    (“Union”) declarations of assignment.

        C           Union’s sworn Certification.                      App-11 – App-17

        D           Charts of Union’s transactions and losses.        App-18 – App-23

        E           Notice of pendency of Union Asset                 App-24 – App-27
                    Management Holding AG v. Fluor Corp.,
                    No. 3:20-cv-518 (N.D. Tex.), published
                    on February 28, 2020 via PR Newswire.

        F           Firm Résumé of Bernstein Litowitz                 App-28 – App-88
                    Berger & Grossmann LLP.


DATED: April 28, 2020                          Respectfully submitted,

                                               MCKOOL SMITH PC

                                               /s/ Lewis T. LeClair
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                                                 & GROSSMANN LLP

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                                       Asset Management Holding AG and Proposed
                                       Lead Counsel for the Class




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                                  CERTIFICATE OF SERVICE

       I certify that on April 28, 2020, a true and correct copy of the foregoing document was

filed with the Clerk of Court using the CM/ECF system, which will send electronic notification of

such filing to all counsel of record.

                                            /s/ Lewis T. LeClair
                                            Lewis T. LeClair




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